                      Case 14-00605-hb                   Doc
            Fill in this information to identify the case:
                                                                   Filed 05/03/19 Entered 05/03/19 15:23:20                          Desc Main
                                                                    Document     Page 1 of 5
           B 10 (Supplement 2) (12/11)
                        Eugenia        (post
                                  Charmaine  publication draft)
                                            Berry
            Debtor 1              __________________________________________________________________

            Debtor 2               ________________________________________________________________
            (Spouse, if filing)

                                                                                       South Carolina
            United States Bankruptcy Court for the: ______________________ District of __________
                                                                                        (State)
                                        14-00605-hb                                  ( Spartanburg)
            Case number            ___________________________________________




           Form 4100R
           Response to Notice of Final Cure Payment                                                                                                   10/15

           According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



            Part 1:         Mortgage Information

                                                                                                                             Court claim no. (if known):
            Name of creditor:                 U.S. Bank Trust National Assoc, as Trustee of
                                             ______________________                                                              6-1
                                                                                                                             _________________
___________ the                             Igloo Series III Trust
                                                                                                    6 ____
                                                                                                  ____ 1     5 ____
                                                                                                           ____ 7
            Last 4 digits of any number you use to identify the debtor’s account:

            Property address:                 264 Hidden Hill Drive
                                             ________________________________________________
                                             Number       Street

                                             _______________________________________________

                                              Rock Hill                 SC        29730
                                             ________________________________________________
                                             City                        State    ZIP Code



            Part 2:         Prepetition Default Payments

             Check one:

                  Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
                   on the creditor’s claim.

                  Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
                   on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date                 $ __________
                   of this response is:


            Part 3:         Postpetition Mortgage Payment

             Check one:

                  Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
                   the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

                   The next postpetition payment from the debtor(s) is due on:              ____/_____/______
                                                                                            MM / DD / YYYY

                  Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
                   of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
                   Creditor asserts that the total amount remaining unpaid as of the date of this response is:
                   a. Total postpetition ongoing payments due: 02/01/2019- 05/01/2019 4 @ $1,370.66                                      (a)      5,482.64
                                                                                                                                               $ __________
                   b. Total fees, charges, expenses, escrow, and costs outstanding:                                                  +   (b)   $ __________

                   c. Total. Add lines a and b.                                                                                          (c)     5,482.64
                                                                                                                                               $ __________
                   Creditor asserts that the debtor(s) are contractually                                         Funds in suspense              $1,110.54
                   obligated for the postpetition payment(s) that first became              02 01      2019
                                                                                            ____/_____/______    Total Due                      $4,372.10
                   due on:                                                                  MM / DD / YYYY


           Form 4100R                                                Response to Notice of Final Cure Payment                                        page 1
           Case 14-00605-hb                    Doc               Filed 05/03/19 Entered 05/03/19 15:23:20                        Desc Main
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Debtor 1        Eugenia Charmaine Berry
                _______________________________________________________                                                 14-00605-hb
                                                                                              Case number (if known) _____________________________________
                First Name      Middle Name               Last Name




 Part 4:       Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
   all payments received;
   all fees, costs, escrow, and expenses assessed to the mortgage; and
   all amounts the creditor contends remain unpaid.




 Part 5:       Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
  proof of claim.

  Check the appropriate box::

        I am the creditor.
        I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.
 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.




               __________________________________________________
                 s/ January N. Taylor

                   Signature
                                                                                              Date     05 03     2019
                                                                                                      ____/_____/________




 Print                January           N.                Taylor
                   _________________________________________________________                  Title       Attorney for Creditor
                                                                                                      ___________________________________
                   First Name                      Middle Name         Last Name



                   McMichael Taylor Gray, LLC
 Company           _________________________________________________________



 If different from the notice address listed on the proof of claim to which this response applies:



 Address           3550 Engineering Drive. Suite 260
                   _________________________________________________________
                   Number                 Street


                   ___________________________________________________
                   Peachtree Corners,                GA         30092
                   City                                                State       ZIP Code




 Contact phone      404
                   (______) 474     1749
                            _____– _________                                                         jtaylor@mtglaw.com
                                                                                              Email ________________________




Form 4100R                                                        Response to Notice of Final Cure Payment                                       page 2
                                                                     Case 14-00605-hb                                           Doc                   Filed 05/03/19 Entered 05/03/19 15:23:20                                                                                    Desc Main
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                                                                                              Payment Changes
                                                                        Date        P&I            Escrow     Total                  Notice Filed
                                                                      3/1/2014    $798.93          $223.64          $1,022.57          w/POC
                                                                      2/1/2015    $798.93          $264.64          $1,063.57        12/23/2014
                                                                     10/1/2015    $928.17          $264.64          $1,192.81        8/13/2015
                                                                      2/1/2016    $928.17          $233.52          $1,161.69        12/17/2015
                                                                      5/1/2017   $1,064.60         $235.89          $1,300.49        3/31/2017
                                                                     10/1/2017   $1,134.77         $235.89          $1,370.66        8/25/2017
                  Loan Information
       Loan #
      Borrower                 Berry, Eugenia
      BK Case #                 14-00605-hb
      Date Filed                 1/31/2014
1st Post Petition Due             3/1/2014
   POC Filed Date                 05/28/01
    POC Amount                   $22,439.90
     POC Covers               7/1/12 to 1/1/14
      TOC Filed                      No

       Date                    Amount Rcvd       Post Pet Due Date    Amt Due    Over/Short     Suspense Credit   Suspense Debit   Suspense Balance    POC Balance        Date     POC Arrears Credit   POC Debit       POC Suspense Balance   POC Paid to Date      AO Balance     AO Due       Date     Amt Rcvd         Comments
     03/17/14                    $581.00                                          $581.00          $581.00                                 $581.00        $22,439.90    08/05/14      $1,590.49                                   $1,590.49              $1,590.49    $9,010.04     $750.84    03/28/17    $775.00
     04/02/14                    $585.00                                          $585.00          $585.00                               $1,166.00        $20,849.41    09/04/14       $309.91              $1,022.57               $877.83              $1,900.40    $8,235.04     $750.84    05/02/17    $775.00
     04/08/14                   $1,022.57           03/01/14         $1,022.57      $0.00                           $1,022.57              $143.43        $20,539.50    10/03/14       $312.75                                    $1,190.58              $2,213.15    $7,460.04     $750.84    05/31/17    $775.00
     04/15/14                    $585.00                                          $585.00          $585.00                                 $728.43        $20,226.75    11/03/14       $312.74              $1,022.57               $480.75              $2,525.89    $6,685.04     $750.84    06/26/17    $775.00
     04/29/14                    $580.00                                          $580.00          $580.00                               $1,308.43        $19,914.01    12/03/14       $312.75                                      $793.50              $2,838.64    $5,910.04     $750.84    07/27/17    $788.31
     05/01/14                   $1,022.57           04/01/14         $1,022.57      $0.00                           $1,022.57              $285.86        $19,601.26    01/02/15       $312.74                                    $1,106.24              $3,151.38    $5,121.73     $750.84    08/23/17    $775.00
     05/09/14                   -$585.00                                          -$585.00         -$585.00                               -$299.14        $19,288.52    02/03/15       $312.75              $1,022.57               $396.42              $3,464.13    $4,346.73     $750.84    10/20/17    $775.00   NSF
     05/09/14                   -$580.00            04/01/14                      -$580.00         -$580.00         -$1,022.57             $143.43        $18,975.77    03/03/15       $431.82                                     $828.24               $3,895.95    $3,571.73     $750.84    10/30/17    $775.00   NSF
     05/13/14                    $587.00                                          $587.00          $587.00                                 $730.43        $18,543.95    04/01/15       $380.78                                    $1,209.02              $4,276.73    $2,796.73     $750.84    12/05/17    $775.00
     05/21/14                    $587.00                                          $587.00          $587.00                               $1,317.43        $18,163.17    05/01/15       $350.39              $1,022.57               $536.84              $4,627.12    $2,021.73     $750.84    01/30/18    $775.00
     05/22/14                   $1,022.57           04/01/14         $1,022.57      $0.00                           $1,022.57              $294.86        $17,812.78    06/02/15       $332.44                                      $869.28              $4,959.56    $1,246.73     $750.84    02/27/18    $775.00
     06/17/14                    $600.00                                          $600.00          $600.00                                 $894.86        $17,480.34    07/01/15       $321.90                                    $1,191.18              $5,281.46     $471.73      $750.80
     07/01/14                    $500.00                                          $500.00          $500.00                               $1,394.86        $17,158.44    08/04/15       $324.30              $1,022.57               $492.91              $5,605.76                 $9,010.04
     07/02/14                   $1,022.57           05/01/14         $1,022.57      $0.00                           $1,022.57              $372.29        $16,834.14    09/01/15       $386.54                                      $879.45              $5,992.30
     07/15/14                    $587.00                                          $587.00          $587.00                                 $959.29        $16,447.60    10/02/15       $441.53              $1,022.57               $298.41              $6,433.83
     07/29/14                    $587.00                                          $587.00          $587.00                               $1,546.29        $16,006.07    11/03/15       $664.27                                      $962.68              $7,098.10
     07/30/14                   $1,022.57           06/01/14         $1,022.57      $0.00                           $1,022.57              $523.72        $15,341.80    12/01/15       $637.17                                    $1,599.85              $7,735.27
     08/12/14                    $587.00                                          $587.00          $587.00                               $1,110.72        $14,704.63    01/06/16      $1,121.10             $1,022.57             $1,698.38              $8,856.37
     08/15/14                   $1,022.57           07/01/14         $1,022.57      $0.00                           $1,022.57               $88.15        $13,583.53    02/03/16       $564.58              $1,022.57             $1,240.39              $9,420.95
     09/09/14                    $587.00                                          $587.00          $587.00                                 $675.15        $13,018.95    04/01/16      $1,274.34             $1,022.57             $1,492.16             $10,695.29
     10/23/14                    $800.00                                          $800.00          $800.00                               $1,475.15        $11,744.61    05/04/16       $717.83              $1,022.57             $1,187.42             $11,413.12
     10/24/14                   $1,022.57           08/01/14         $1,022.57      $0.00                           $1,022.57              $452.58        $11,026.78    06/01/16       $717.83              $1,022.57               $882.68             $12,130.95
     11/18/14                   $1,000.00                                        $1,000.00         $1,000.00                             $1,452.58        $10,308.95    07/01/16       $637.17                                    $1,519.85             $12,768.12
     11/19/14                   $1,022.57           09/01/14         $1,022.57      $0.00                           $1,022.57              $430.01          $9,671.78   08/03/16       $637.17              $1,022.57             $1,134.45             $13,405.29
     12/02/14                    $587.00                                          $587.00          $587.00                               $1,017.01          $9,034.61   09/01/16       $637.17              $1,022.57               $749.05             $14,042.46
     01/20/15                    $587.00                                          $587.00          $587.00                               $1,604.01          $8,397.44   11/04/16       $637.17              $1,022.57               $363.65             $14,679.63
     01/21/15                   $1,022.57           10/01/14         $1,022.57      $0.00                           $1,022.57              $581.44          $7,760.27   12/02/16       $637.17                                    $1,000.82             $15,316.80
     02/09/15                    $587.00                                          $587.00          $587.00                               $1,168.44          $7,123.10   02/03/17      $1,296.14             $1,022.57             $1,274.39             $16,612.94
     02/12/15                   $1,022.57           11/01/14         $1,022.57      $0.00                           $1,022.57              $145.87          $5,826.96   03/03/17      $1,274.34             $1,022.57             $1,526.16             $17,887.28
     02/24/15                    $587.00                                          $587.00          $587.00                                 $732.87          $4,552.62   04/25/17       $637.17              $1,300.49               $862.84             $18,524.45
     03/10/15                    $587.00                                          $587.00          $587.00                               $1,319.87          $3,915.45   05/05/17       $637.17                                    $1,500.01             $19,161.62
     03/11/15                   $1,022.57           12/01/14         $1,022.57      $0.00                           $1,022.57              $297.30          $3,278.28   06/02/17       $637.17              $1,300.49               $836.69             $19,798.79
     03/24/15                    $587.00                                          $587.00          $587.00                                 $884.30          $2,641.11   07/17/17       $647.02              $1,300.49               $183.22             $20,445.81
     04/23/15                    $587.00                                          $587.00          $587.00                               $1,471.30          $1,994.09   08/09/17       $647.02                                      $830.24             $21,092.83
     04/24/15                   $1,022.57           01/01/15         $1,022.57      $0.00                           $1,022.57              $448.73          $1,347.07   09/13/17       $647.02                                    $1,477.26             $21,739.85
     05/05/15                    $587.00                                          $587.00          $587.00                               $1,035.73            $700.05   10/27/17       $647.01                                    $2,124.27             $22,386.86
     06/02/15                    $587.00                                          $587.00          $587.00                               $1,622.73             $53.04   01/18/18        $53.04              $1,300.49               $876.82             $22,439.90
     06/03/15                   $1,063.57           02/01/15         $1,063.57      $0.00                           $1,063.57              $559.16              $0.00
     06/16/15                    $578.00                                          $578.00          $578.00                               $1,137.16              $0.00
     07/14/15                    $587.00                                          $587.00          $587.00                               $1,724.16              $0.00
     07/15/15                   $1,063.57           03/01/15         $1,063.57      $0.00                           $1,063.57              $660.59              $0.00
     08/28/15                    $600.00                                          $600.00          $600.00                               $1,260.59              $0.00
     09/10/15                    $600.00                                          $600.00          $600.00                               $1,860.59              $0.00
     09/22/15                    $600.00                                          $600.00          $600.00                               $2,460.59              $0.00
     09/23/15                   $1,063.57           04/01/15         $1,063.57      $0.00                           $1,063.57            $1,397.02              $0.00
     09/23/15                   $1,063.57           05/01/15         $1,063.57      $0.00                           $1,063.57              $333.45              $0.00
     10/21/15                    $600.00                                          $600.00          $600.00                                 $933.45              $0.00
     11/04/15                    $600.00                                          $600.00          $600.00                               $1,533.45              $0.00
     11/05/15                   $1,063.57           06/01/15         $1,063.57      $0.00                           $1,063.57              $469.88              $0.00
     11/18/15                    $300.00                                          $300.00          $300.00                                 $769.88              $0.00
     12/15/15                    $600.00                                          $600.00          $600.00                               $1,369.88              $0.00
     12/15/15                   $1,063.57           07/01/15         $1,063.57      $0.00                           $1,063.57              $306.31              $0.00
     01/26/16                    $600.00                                          $600.00          $600.00                                 $906.31              $0.00
     02/20/16                    $600.00                                          $600.00          $600.00                               $1,506.31              $0.00
     02/20/16                   $1,063.57           08/01/15         $1,063.57      $0.00                           $1,063.57              $442.74              $0.00
     03/23/16                    $600.00                                          $600.00          $600.00                               $1,042.74              $0.00
     04/21/16                    $100.00                                          $100.00          $100.00                               $1,142.74              $0.00
     04/26/16                    $300.00                                          $300.00          $300.00                               $1,442.74              $0.00
     04/26/16                   $1,063.57           09/01/15         $1,063.57      $0.00                           $1,063.57              $379.17              $0.00
     05/18/16                    $300.00                                          $300.00          $300.00                                 $679.17              $0.00
     06/02/16                    $600.00                                          $600.00          $600.00                               $1,279.17              $0.00
     06/02/16                   $1,192.81           10/01/15         $1,192.81      $0.00                           $1,192.81               $86.36              $0.00
     06/27/16                    $600.00                                          $600.00          $600.00                                 $686.36              $0.00
     07/29/16                    $600.00                                          $600.00          $600.00                               $1,286.36              $0.00
     07/29/16                   $1,192.81           11/01/15         $1,192.81      $0.00                           $1,192.81               $93.55              $0.00
     08/01/16                    $600.00                                          $600.00           $600.00                                $693.55              $0.00
     08/31/16                   $1,300.00                                        $1,300.00         $1,300.00                             $1,993.55              $0.00
     08/31/16                   $1,192.81           12/01/15         $1,192.81      $0.00                           $1,192.81              $800.74              $0.00
     09/29/16                   $1,300.00                                        $1,300.00         $1,300.00                             $2,100.74              $0.00
     09/29/16                   $1,192.81           01/01/16         $1,192.81      $0.00                                                $2,100.74              $0.00
     10/24/16                   $1,300.00                                        $1,300.00         $1,300.00                             $3,400.74              $0.00
     10/24/16                   $1,161.69           02/01/16         $1,161.69      $0.00                           $1,161.69            $2,239.05              $0.00
     11/28/16                   $1,300.00           03/01/16         $1,161.69    $138.31          $138.31                               $2,377.36              $0.00
     11/28/16                   $1,161.69           04/01/16         $1,161.69      $0.00                           $1,161.69            $1,215.67              $0.00
     12/28/16                   $1,300.00           05/01/16         $1,161.69    $138.31           $138.31                              $1,353.98              $0.00
     01/28/17                   $1,150.00                                        $1,150.00         $1,150.00                             $2,503.98              $0.00
     01/28/17                   $1,161.69           06/01/16         $1,161.69      $0.00                           $1,161.69            $1,342.29              $0.00
     02/16/17                   $1,150.00                                        $1,150.00         $1,150.00                             $2,492.29              $0.00
     02/16/17                   $1,161.69           07/01/16         $1,161.69      $0.00                           $1,161.69            $1,330.60              $0.00
     03/28/17                   $1,161.69           03/01/17         $1,161.69      $0.00                            $111.69             $1,218.91              $0.00
     05/09/17                   $1,161.69           04/01/17         $1,161.69      $0.00                                                $1,218.91              $0.00
     05/31/17                   $1,300.49           05/01/17         $1,300.49      $0.00                                                $1,218.91              $0.00
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  07/24/17   $1,300.49   06/01/17   $1,300.49      $0.00                                 $1,218.91      $0.00
  08/23/17   $1,300.49   07/01/17   $1,300.49      $0.00                                 $1,218.91      $0.00
  09/28/17   $1,846.92   08/01/17   $1,300.49    $546.43     $546.43                     $1,765.34      $0.00
  10/20/17   $2,150.00   09/01/17   $1,300.49    $849.51     $849.51                     $2,614.85      $0.00
  11/08/17   $1,375.00   10/01/17   $1,370.66      $4.34      $4.34                      $2,619.19      $0.00
  12/05/17   $2,150.00   11/01/17   $1,370.66    $779.34     $779.34                     $3,398.53      $0.00
  01/17/18   $1,339.93   12/01/17   $1,370.66     -$30.73               $30.73           $3,367.80      $0.00
  02/27/18   $2,150.00   01/01/18   $1,370.66    $779.34     $779.34                     $4,147.14      $0.00
  03/27/18   $1,695.00   02/01/18   $1,370.66    $324.34     $324.34                     $4,471.48      $0.00
 5/14/2018   $1,375.00   03/01/18   $1,370.66      $4.34      $4.34                      $4,475.82      $0.00
  6/6/2018   $1,375.00   04/01/18   $1,370.66      $4.34      $4.34                      $4,480.16      $0.00
  7/3/2018   $1,375.00   05/01/18   $1,370.66      $4.34      $4.34                      $4,484.50      $0.00
  8/1/2018   $1,370.66   06/01/18   $1,370.66      $0.00                                 $4,484.50      $0.00
 9/11/2018   $1,370.66   07/01/18   $1,370.66      $0.00                                 $4,484.50      $0.00
10/23/2018   $1,375.00   08/01/18   $1,370.66      $4.34      $4.34                      $4,488.84      $0.00
  1/2/2019   $1,375.00   09/01/18   $1,370.66      $4.34      $4.34                      $4,493.18      $0.00
 2/11/2019   $1,575.00   10/01/18   $1,370.66    $204.34     $204.34                     $4,697.52      $0.00
  4/9/2019   $1,575.00   11/01/18   $1,370.66    $204.34     $204.34                     $4,901.86      $0.00
                         12/01/18   $1,370.66   -$1,370.66             $1,370.66         $3,531.20      $0.00
                         01/01/19   $1,370.66   -$1,370.66             $1,370.66         $2,160.54      $0.00
 Next due                02/01/19                  $0.00                                 $2,160.54      $0.00
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                                CERTIFICATE OF SERVICE

The undersigned hereby certifies under penalty of perjury that he/she is over eighteen (18) years
of age and that the RESPONSE TO NOTICE OF FINAL CURE PAYMENT in the above
captioned case were this day served upon the below named persons by mailing, postage prepaid,
first class mail a copy of such instrument to each person(s), parties, and/or counsel at the
addresses shown below:


Via U.S. Mail
Eugenia Charmaine Berry
264 Hidden Hills Dr.
Rock Hill, SC 29730


Via electronic service:
Lemuel Showell Blades, IV
131 Caldwell Street
PO Box 10671
Rock Hill, SC 29731

Gretchen D. Holland
Ch. 13 Trustee Office
20 Roper Corners Circle, Suite C
Greenville, SC 29615

US Trustee's Office
Strom Thurmond Federal Building
1835 Assembly St.
Suite 953
Columbia, SC 29201


This 3rd day of May 2019.

                                                            /s/January N. Taylor
                                                            January N. Taylor (I.D. 30679)
                                                            McMichael Taylor Gray, LLC
                                                            3550 Engineering Drive. Suite 260
                                                            Peachtree Corners, GA 30092
                                                            (404)-474-1749
                                                            jtaylor@mtglaw.com
